Case 4:21-cv-00032-JMS-DML Document 1-1 Filed 02/24/21 Page 1 of 15 PageID #: 6




   REMOVAL TO FEDERAL COURT

                STATE COURT RECORD

                           STATE OF INDIANA

                           Lawrence Circuit Court

                          47C01-2101-CT-000106

                              KELLY GRACE

                                      v.

        PAUL SKIFF and SUPREME AUTO TRANSPORT, INC.
010210304Case 4:21-cv-00032-JMS-DML                           56778
                                                    Document 1-1   9ÿÿ 02/24/21
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                                                  Lawrence   Circuit Court                                        Lawrence County,




 STATE 0F INDIANA                     )                            1N   THE LAWRENCE                          COURT
                                          SS:
 COUNTY 0F LAWRENCE))                                              CAUSE N0.

 KELLY GMCE

           vs.

 PAUL SKIFF and
 SUPREME AUTO TRANSPORT,                         INC.


                                    COMPLAINT FOR DAMAGES
           Comes now       the Plaintiff, Kelly Grace,         by counsel, Bradford          J.   Smith of Ken     Nunn
 Law Ofﬁce, and for her cause 0f action against the Defendants, Paul Skiffand Supreme Auto
 Transport, Inc., alleges and states as follows:


                                  STATEMENT AND JURISDICTION

           1.       This   is   a clear liability collision in Which Defendants' 2018 Western Star
 tractorand attached trailer was negligently driven by Paul Skiff, causing a collision with the
 vehicle driven by Plaintiff, Kelly Grace. As a result 0f the collision, Plaintiff has incurred
 medical expenses,         lost   wages, property damage including, but not limited                   to,   diminished
 value, and other special expenses in an             amount      to   be proven   at trial   of this cause.


           2.      Jurisdiction     and venue are appropriate            in   Lawrence County, Indiana,           as said
 collision occurred within the boundaries 0f Lawrence County, State 0f Indiana.




                                      FIRST CAUSE OF ACTION

                                      NEGLIGENCE OF PAUL SKIFF

           3.      Plaintiff realleges      and incorporates herein by reference paragraphs                   1   through
 2 above as      if fully restated   verbatim.


           4.       On   or about    December       6,   2020, Defendant Paul Skiff negligently drove a
 tractor-trailer, striking the vehicle          driven by Plaintiff, Kelly Grace.


           5. Defendant Paul Skiff had a duty                     t0 operate his tractor trailer in a safe            and
 reasonable manner.
Case 4:21-cv-00032-JMS-DML Document 1-1 Filed 02/24/21 Page 6 of 15 PageID #: 11




         6.       Defendant Paul Skiff failed in the above mentioned duties and                is   therefore
 negligent.


         7.       Defendant Paul Skiffs negligence was the direct and proximate cause of
 Plaintiff s injuries.


         8.       Plaintiff’ s injuries    and damages are permanent.


         9.       As   a direct and proximate result of Paul Skiff” s negligence, Kelly Grace has
 suffered lost wages.


         10.      Plaintiff has incurred       medical   bills for the   treatment of her injuries directly
 resulting    from this   collision.


         11.      As   a direct and proximate result of Paul Skiff‘s negligence, Kelly Grace has
 experienced physical and mental pain and suffering, lost wages, property damage including,
 but not limited    t0,   diminished value, and has lost the ability t0 perform usual               activities,

 resulting in a diminished quality of life.




                                  SECOND CAUSE OF ACTION

                              NEGLIGENCE PER SE OF PAUL SKIFF

         12.      Plaintiff realleges      and incorporates herein by reference paragraphs          1   through
 11   above as   if fully restated     verbatim.


         13.      Paul SkiffViolated state and federal statutes and regulations including but not
 limited to Title 9 of the Indiana Code.


         14.      Defendant Paul         Skiff’ s statutory Violations directly   and proximately caused
 Plaintiffs    damages and     injuries.



         15.      Defendant Paul Skiffis negligent per se based 0n these statutory and regulatory
 Violations.


                                     THIRD CAUSE OF ACTION

          RESPONDEAT SUPERIOR OF SUPREME AUTO TRANSPORT,                                     INC.


         16.      Plaintiff realleges      and incorporates herein by reference paragraphs          1
Case 4:21-cv-00032-JMS-DML Document 1-1 Filed 02/24/21 Page 7 of 15 PageID #: 12




 through 15 above as     if fully restated   verbatim.


           17.    Defendant Paul Skiff was the employee, agent, servant, 0r independent
 contractor for   Supreme Auto Transport,        Inc. Accordingly,   Supreme Auto Transport,         Inc.

 is   vicariously liable for the acts 0f Defendant Paul Skiff for the causes 0f action above.


          WHEREFORE, the Plaintiff, Kelly Grace, by counsel Bradford J.                Smith 0f Ken
 Nunn Law Ofﬁce, demands judgment against the               Defendants, Paul Skiff and Supreme
 Auto Transport,    Inc., for   permanent                       amount to be determined at
                                             injuries in a reasonable
 the trial of this cause, for medical expenses, lost wages, property damage including, but
 not limited t0, diminished value, and other special expenses, court costs and all other just
 and proper relief in the premises.


                                          KEN NUNN LAW OFFICE


                                          BY:     S/Bradford J. Smith
                                                  Bradford J. Smith, #22783-47
                                                  KEN NUNN LAW OFFICE
                                                  104 South Franklin Road
                                                  Bloomington, IN 47404
                                                  Phone: (812) 332-9451
                                                  Fax: (812) 33 1-5321
                                                  E-mail:   brads@kennunn.com




                                  REQUEST FOR TRIAL BY JURY

          Comes now the    plaintiff,   by counsel, Ken Nunn Law        Office,   and requests   that this


 matter be tried by jury pursuant t0 Trial Rule 38.
Case 4:21-cv-00032-JMS-DML Document 1-1 Filed 02/24/21 Page 8 of 15 PageID #: 13




                                    KEN NUNN LAW OFFICE


                                    BY:_   s/ Bradford J. Smith
                                           Bradford   J.   Smith, #22783-47
                                           KEN NUNN LAW OFFICE
                                           104 South Franklin Road
                                           Bloomington, IN 47404
                                           Phone: (8 12) 332-9451
                                           Fax: (812) 331-5321
                                           E-mail:   brads@kennunn.com




 Bradford   J.   Smith, #22783-47
 Ken Nunn Law Ofﬁce
 104 South Franklin Road
 Bloomington, IN 47404
 Telephone: 8 12-332-9451
 Fax Number:       8 12-33 1-5321
 Attorney for Plaintiff
Case 4:21-cv-00032-JMS-DML Document  1-1-CT-0001
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                                                  Lawrence   Circuit Court                             Lawrence County, Indiana




                                          APPEARANCE FORM (CIVIL)
                                                      Initiating Party




              CAUSE NO:

   1.         Name   of ﬁrst   initiating party                 Kelly Grace
                                                                3933 Washington Avenue
                                                                Bedford, IN 47421



   2.         Telephone 0f pro se      initiating party         NA

   3.         Attorney information (as applicable               Bradford      J.   Smith #22783—47
              for service   0f process)                         Ken Nunn Law Ofﬁce
                                                                104 South Franklin Road
                                                                Bloomington, IN 47404
                                                                PHONE:               812 332-9451
                                                                FAX:                 812 331-5321
                                                                Email: bj smith@kennunn.com



   4.         Case type requested                               CT   (Civil Tort)



   5.         Will accept   FAX service                         YES

   6.         Are there   related cases                         NO

   7.         Additional information required by
              State or Local Rules



   Continuation 0f Item        1   (Names of initiating         NAME:
   parties)                                                     NAME:

   Continuation of Item 3 (Attorney information
   as applicable for service 0f process)



                                                           s/Bradford    J.   Smith
                                                          Attorney—at-Law
                                                          (Attorney information        shown above.)
Case 4:21-cv-00032-JMS-DML Document
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                                     01 -CT-0001 06      Page 10 of 15 PageID  #:1/29/2021
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                                                                           Lawrence    Circuit Court                                                           Lawrence County, Indiana


                                      CIRCUIT/SUPERIOR COURT FOR THE COUNTY OF                                         LAWRENCE
                                                        STATE OF INDIANA
LAWRENCE CIRCUIT COURT                                            LAWRENCE SUPERIOR COURT I                                   LAWRENCE SUPERIOR
                                                                                                                              COURT II
916 15TH STREET,              ROOM 37                             918 16TH ST., SUITE 300                                     1420 I STREET
BEDFORD, IN 47421                                                 BEDFORD, IN 47421                                           BEDFORD, IN 47421
TELEPHONE: 8 12 275-2421                                          TELEPHONE 8 12 275-3 124                                    TELEPHONE: 8 12 275-4161

Kelly Grace

                                                    P1aintiff(s)


                             VS.                                                                     N0.

Paul Skiff and Supreme Auto Transport, Inc.

                                                    Defendant(s)

                                                                                SUMMONS
The     State   of Indiana to Defendant: Paul             Skiff,      210 North Park          Street, Hastings,    MI 49058
            You have been           sued by the person(s) named               "plaintiff" in the court stated above.


       The nature 0f the suit against you is stated in the complaint which                               is   attached t0 this document.             It   also states the
demand which the plaintiff has made and wants from you.

            You must answer the
                              complaint in writing, by you 0r your attorney, within Twenty (20) days, commencing the day




                                                                                                              M
after   you receive  summons, 0r judgment Will be entered against you for what the plaintiff has demanded. You have
                          this
twenty—three (23) days to answer if this summons was received by mail. Such Answer Must Be Made In Court.

           If you have a claim for relief against the plaintiff arising from the same transaction 0r occurrence, you must assert                                             it

in   your written answer.


Dateiz/1/2021                                                                           “6%
                                                                                         CLERK,       LAWRENCE CIRCUIT/SUPERIOR COURT
BRADFORD J. SMITH, #22783—47
ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE
104 FRANKLIN ROAD
BLOOMINGTON,            IN    47404
TELEPHONE:          (812)332—9451
                                                       ACKNOWLEDGMENT 0F SERVICE 0F SUMMONS
            A copy of the above summons and a copy of the complaint attached thereto were received by me at
,
    2021.




                                                                                                      SIGNATURE OF DEFENDANT
PRAECIPE:       I   designate the following   mode 0f service    t0   be used by the Clerk.


XX          By certiﬁed      or registered mail with return receipt to above address.


D           By      Sheriff delivering a   copy of summons and complaint personally       to defendant or   by leaving a copy of the summons and complaint          at his

            dwelling house or usual place of abode with some person of suitable age and discretion residing therein.


D           By                        d elivering a copy of summons and complaint personally         to defendant or   by leaving   a copy of the   summons and complaint
            at his    dwelling house or usual place of abode.


D           By      serving his agent as provided   by rule,   statute or valid agreement, to-wit:



                                                                                                      KEN NUNN LAW OFFICE

                                                                                                      BY:     s/BRADFORD J. SMITH
                                                                                                        ATTORNEY FOR PLAINTIFF
Case 4:21-cv-00032-JMS-DML Document 1-1 Filed 02/24/21 Page 11 of 15 PageID #: 16



CERTIFICATE OF MAILING:                         Icertify that on the          _ day of                           ,
                                                                                                                     2 021, Imailed a copy of this                    summons and       a copy of the complaint t0 each of
the defendant(s)       by   (registered or certiﬁed mail requesting a return receipt signed                                     by the addressee                 only, addressed t0 each of said defendant(s) at the
address(es) furnished           by plaintiff.

           Dated       this     _ day of                       ,
                                                                   2 021.



                                                                                                                                                                                                                         C LERK,
                                                                                                                                           LAWRENCE CIRCUIT COURT

RETURN OF SERVICE OF SUMMONS BY MAIL:                                                Ihereby            certify that service            of summons with return receipt requested was mailed on the                                      _day
of                 ,
                       2 021, and that a copy of the return of receipt was received by                                        me on the     _ day of                            ,
                                                                                                                                                                                    2 02 1 which copy
                                                                                                                                                                                         ,
                                                                                                                                                                                                                    is   attached herewith.


                                                                                                                                                                                                                         C LERK,
                                                                                                                                           LAWRENCE CIRCUIT COURT

CERTIFICATE 0F CLERK OF SUMMONS NOT ACCEPTED BY MAIL: Ihereby certify that on the day of                                           2 021, I mailed a copy                   _                                  ,



0f this summons and a copy 0f the complaint to the defendant(s) by (registered or certiﬁed) mail, and the same was returned Without acceptance this                                                                                         _
day 0f              2 02 1 and I did deliver said summons and a copy of the complaint t0 the Sheriff of Lawrence County, Indiana.
                            ,         ,




           Dated       this     _ day of                            ,
                                                                        2 02 1.


                                                                                                                                                                                                                         C LERK,
                                                                                                                                           LAWRENCE CIRCUIT COURT

RETURN OF SUMMONS:                            This   summons came            t0   hand on the           _ day of                    ,
                                                                                                                                        2021, and        I   served the same 0n the              _ day 0f                   ,
                                                                                                                                                                                                                                2021.


           1.                   By mailing a copy of the summons and complaint personally to        address
                                By delivering a copy 0f summons and complaint personally t0                                                                                                  .




           3.                   By leaving a copy of the summons and complaint at                             t he dwelling house or usual place 0f abode 0f

                                defendant:                               ma me of Person) and by mailing by ﬁrst class mail a copy of the summons on the                                                                                    _
                                day 0f                     ,
                                                               2 021 to                                                h      is last   known   address.
           4.                   By serving his        agent as provided by rule, statute or valid agreement to-wit:


           5.                   Defendant cannot be found in                  my bailwick and summons was not                              served.


           And I now return               this writ this   _ day of                       ,
                                                                                              2 021.


                                                                                                                                                                                                                         SHER      IFF or
                                                                                                                                           DEPUTY

RETURN ON SERVICE OF SUMMONS:                                           Ihereby    certify that         I   have served the within summons:


           1.                   By delivery on the         _ day of                             ,
                                                                                                        2 021 a copy of this             summons and               a copy of the complaint t0 each of the Within                        named
                                defendant(s)                                                                                                         .




           2.                   By leaving on the        _summons
                                              a copy of the
                                                                   day of                           ,
                                                                                                        2 021 for each of the Within                 named
                                                                      and a copy of the complaint at the respective dwelling house 0r usual place 0f abode With
                                                                                                                                                                     defendant(s)
                                          ,


                                                       a person of suitable age and discretion residing therein whose usual duties or activities include prompt
                                communication 0f such information                      to the   person served.
           3.                                                                                                                                                a    nd by mailing a copy of the summons without the
                                complaint to                                                                          a   t                                                             t        he   last   known       address of
                                defendant(s).
           A11 done in Lawrence County, Indiana.
Fees: $                                                                                                                                                                                               SHER         IFF or   DEPUTY
Case 4:21-cv-00032-JMS-DML Document
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                                     01 -CT-0001 06      Page 12 of 15 PageID  #:1/29/2021
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                                                                                                                                                                              Clerk
                                                                         Lawrence    Circuit Court                                                         Lawrence County, Indiana


                                      CIRCUIT/SUPERIOR COURT FOR THE COUNTY OF                                     LAWRENCE
                                                        STATE OF INDIANA
LAWRENCE CIRCUIT COURT                                         LAWRENCE SUPERIOR COURT I                                  LAWRENCE SUPERIOR
                                                                                                                          COURT II
916 15TH STREET,            ROOM 37                            918 16TH ST., SUITE 300                                    1420 I STREET
BEDFORD, IN 47421                                              BEDFORD, IN 47421                                          BEDFORD, IN 47421
TELEPHONE: 8 12 275-2421                                       TELEPHONE 8 12 275-3 124                                   TELEPHONE: 8 12 275-4161

Kelly Grace

                                                   P1aintiff(s)


                          VS.                                                                       N0.

Paul Skiff and Supreme Auto Transport, Inc.

                                                   Defendant(s)

                                                                              SUMMONS
The State of Indiana to Defendant: Supreme Auto Transport,                              Inc., c/o   Truck Process Agents 0f America,                    Inc.,   Pamela
Warner, 306 East Columbia Street, Attica, IN 47918

            You have been           sued by the person(s) named             "plaintiff" in the court stated above.


       The nature 0f the suit against you is stated in the complaint Which                            is   attached t0 this document.            It   also states the
demand which the plaintiff has made and wants from you.

            You must answer the
                              complaint in writing, by you 0r your attorney, Within Twenty (20) days, commencing the day
after   you receive  summons, or judgment Will be entered against you for what the plaintiff has demanded. You have
                         this
twenty-three (23) days t0 answer if this summons was received by mail. Such Answer Must Be Made In Court.

           If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert                                          it

in   your written answer.


Date:
        2/1/2021
                                                                                      %m
                                                                                       CLERK,       LAWRENCE CIRCUEF/SUPERIOR COURT
BRADFORD J. SMITH, #22783-47
ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE
104 FRANKLIN ROAD
BLOOMINGTON, IN 47404
TELEPHONE:        (8 1 2)332-9451
                                                     ACKNOWLEDGMENT OF SERVICE OF SUMMONS
            A copy of the above summons and a copy 0f the complaint attached thereto were received by me at
,
    2021.




                                                                                                    SIGNATURE OF DEFENDANT
PRAECIPE:     I   designate the following    mode of service   to   be used by the Clerk.


XX          By certiﬁed    or registered mail With return receipt t0 above address.


D           By    Sheriff delivering a copy 0f summons and complaint personally to defendant or           by leaving a copy of the summons and complaint         at his

            dwelling house or usual place of abode With some person of suitable age and discretion residing therein.


D           By                       d elivering a copy of summons and complaint personally      t0 defendant 0r   by leaving   a copy of the   summons and complaint
            at his   dwelling house 0r usual place of abode.


D           By serving his      agent as provided by rule, statute or valid agreement, to-Wit:


                                                                                                    KEN NUNN LAW OFFICE

                                                                                                    BY: s/ BRADFORD J. SMITH
                                                                                                     ATTORNEY FOR PLAINTIFF
Case 4:21-cv-00032-JMS-DML Document 1-1 Filed 02/24/21 Page 13 of 15 PageID #: 18



CERTIFICATE OF MAILING:                         Icertify that on the          _ day of                           ,
                                                                                                                     2 021, Imailed a copy of this                    summons and       a copy of the complaint t0 each of
the defendant(s)       by   (registered or certiﬁed mail requesting a return receipt signed                                     by the addressee                 only, addressed t0 each of said defendant(s) at the
address(es) furnished           by plaintiff.

           Dated       this     _ day of                       ,
                                                                   2 021.



                                                                                                                                                                                                                         C LERK,
                                                                                                                                           LAWRENCE CIRCUIT COURT

RETURN OF SERVICE OF SUMMONS BY MAIL:                                                Ihereby            certify that service            of summons with return receipt requested was mailed on the                                      _day
of                 ,
                       2 021, and that a copy of the return of receipt was received by                                        me on the     _ day of                            ,
                                                                                                                                                                                    2 02 1 which copy
                                                                                                                                                                                         ,
                                                                                                                                                                                                                    is   attached herewith.


                                                                                                                                                                                                                         C LERK,
                                                                                                                                           LAWRENCE CIRCUIT COURT

CERTIFICATE 0F CLERK OF SUMMONS NOT ACCEPTED BY MAIL: Ihereby certify that on the day of                                           2 021, I mailed a copy                   _                                  ,



0f this summons and a copy 0f the complaint to the defendant(s) by (registered or certiﬁed) mail, and the same was returned Without acceptance this                                                                                         _
day 0f              2 02 1 and I did deliver said summons and a copy of the complaint t0 the Sheriff of Lawrence County, Indiana.
                            ,         ,




           Dated       this     _ day of                            ,
                                                                        2 02 1.


                                                                                                                                                                                                                         C LERK,
                                                                                                                                           LAWRENCE CIRCUIT COURT

RETURN OF SUMMONS:                            This   summons came            t0   hand on the           _ day of                    ,
                                                                                                                                        2021, and        I   served the same 0n the              _ day 0f                   ,
                                                                                                                                                                                                                                2021.


           1.                   By mailing a copy of the summons and complaint personally to        address
                                By delivering a copy 0f summons and complaint personally t0                                                                                                  .




           3.                   By leaving a copy of the summons and complaint at                             t he dwelling house or usual place 0f abode 0f

                                defendant:                               ma me of Person) and by mailing by ﬁrst class mail a copy of the summons on the                                                                                    _
                                day 0f                     ,
                                                               2 021 to                                                h      is last   known   address.
           4.                   By serving his        agent as provided by rule, statute or valid agreement to-wit:


           5.                   Defendant cannot be found in                  my bailwick and summons was not                              served.


           And I now return               this writ this   _ day of                       ,
                                                                                              2 021.


                                                                                                                                                                                                                         SHER      IFF or
                                                                                                                                           DEPUTY

RETURN ON SERVICE OF SUMMONS:                                           Ihereby    certify that         I   have served the within summons:


           1.                   By delivery on the         _ day of                             ,
                                                                                                        2 021 a copy of this             summons and               a copy of the complaint t0 each of the Within                        named
                                defendant(s)                                                                                                         .




           2.                   By leaving on the        _summons
                                              a copy of the
                                                                   day of                           ,
                                                                                                        2 021 for each of the Within                 named
                                                                      and a copy of the complaint at the respective dwelling house 0r usual place 0f abode With
                                                                                                                                                                     defendant(s)
                                          ,


                                                       a person of suitable age and discretion residing therein whose usual duties or activities include prompt
                                communication 0f such information                      to the   person served.
           3.                                                                                                                                                a    nd by mailing a copy of the summons without the
                                complaint to                                                                          a   t                                                             t        he   last   known       address of
                                defendant(s).
           A11 done in Lawrence County, Indiana.
Fees: $                                                                                                                                                                                               SHER         IFF or   DEPUTY
      Case 4:21-cv-00032-JMS-DML Document 1-1 Filed 02/24/21 Page 14 of 15 PageID
                                                                              Filed:#:  19 12:25 PM
                                                                                     2/10/2021
                                                                                                    Lawrence Circuit Court
                                                                                                  Lawrence County, Indiana




    Mailer: Ken Nunn Law Office

    Date Produced: 02/08/2021

    ConnectSuite Inc.:

    The following is the delivery information for Certified Mail™/RRE item number 9214 8901 9403 8331
    0644 14. Our records indicate that this item was delivered on 02/05/2021 at 10:41 a.m. in HASTINGS, MI
    49058. The scanned image of the recipient information is provided below.

    Signature of Recipient :




    Address of Recipient :




    Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
    please contact your local post office or Postal Service representative.

    Sincerely,
    United States Postal Service

    The customer reference number shown below is not validated or endorsed by the United States Postal
    Service. It is solely for customer use.

    This USPS proof of delivery is linked to the customers mail piece information on file
    as shown below:
     PAUL SKIFF
     210 N PARK ST
     HASTINGS MI 49058-1612




    Customer Reference Number:               C2495526.14347680
    Return Reference Number                  Kelly Grace

2
 Case 4:21-cv-00032-JMS-DML Document 1-1 Filed 02/24/21 Page 15 of 15 PageID #: 20
USPS MAIL PIECE TRACKING NUMBER: 420490589214890194038331064414
MAILING DATE:     02/01/2021
DELIVERED DATE: 02/05/2021
CUSTOM1:


MAIL PIECE DELIVERY INFORMATION:
 PAUL SKIFF
 210 N PARK ST
 HASTINGS MI 49058-1612



MAIL PIECE TRACKING EVENTS:
 02/01/2021 12:24         PRE-SHIPMENT INFO SENT USPS AWAITS ITEM   BLOOMINGTON,IN 47404
 02/02/2021 14:39         PICKED UP                                 BLOOMINGTON,IN 47403
 02/02/2021 17:15         DEPART POST OFFICE                        BLOOMINGTON,IN 47403
 02/02/2021 23:57         PROCESSED THROUGH USPS FACILITY           INDIANAPOLIS,IN 46206
 02/04/2021 08:39         PROCESSED THROUGH USPS FACILITY           GRAND RAPIDS,MI 49599
 02/05/2021 02:20         PROCESSED THROUGH USPS FACILITY           GRAND RAPIDS,MI 49599
 02/05/2021 08:25         ARRIVAL AT UNIT                           HASTINGS,MI 49058
 02/05/2021 08:36         OUT FOR DELIVERY                          HASTINGS,MI 49058
 02/05/2021 10:41         DELIVERED LEFT WITH INDIVIDUAL            HASTINGS,MI 49058
